Case 4:22-cr-00288-P’ Document 43 Filed 10/05/22 Page1of3 PagelD 72

IN THE UNITED STATES DISTRICT COURT

UNITED STATES OF AMERICA

V.

JOSE CARLOS RIVAS-CHAIREZ (01)

No. 4422-C@-|

FACTUAL RESUME

L Plea: The defendant is pleading guilty to

FOR THE NORTHERN DISTRICT OF TEXAS-
FORT WORTH DIVISION

2" E- F |
i

CLERK, US. Eas TRC) COURT

Count One: False Statements During Purchase of Firearm, in violation of 18 U.S.C.
§ 922(a)(6), 18 U.S.C. § 924(a)(2), and 18 U.S.C. § 2; and

Count Two: Conspiracy to Possess with Intent to Distribute a Controlled Substance,
in violation of 21 U.S.C. § 846 (21 U.S.C. § 841 (a)(1) and (b)(1)(B)).

II. Penalties:

The penaities the Court can impose as to Count One include:
a. imprisonment for a period not to exceed ten (10) years;

b. a fine not to exceed $250,000;

c. a term of supervised release not to exceed three (3) years, which may be
mandatory under the law and will follow any term of imprisonment. If the
defendant violates any condition of supervised release, the Court may
revoke such release term and require that the defendant serve an additional

period of confinement;

d. a mandatory special assessment of $100;
e. forfeiture of firearms and ammunition; and
f. costs of incarceration and supervision.

The penalties the Court can impose as to Count Two include:
a. imprisonment for a period of not less than five (5) years and not more than

forty (40) years;

a fine not to exceed $5,000,000;

c, a term of supervised release of not less than four (4) years (if the defendant
violates any condition of supervised release, the Court may revoke such
term of supervised release and require the defendant to serve an additional

period of confinement);

Factual Resume - Page I of 3

Case 4:22-cr-00288-P’ Document 43 Filed 10/05/22 Page 2of3 PagelD 73

d. restitution to victims or to the community, which may be mandatory under
the law, and which the defendant agrees may include restitution arising
from all relevant conduct, not limited to that arising from the offenses of
conviction alone;

e, forfeiture of property; and

f. a mandatory special assessment of $100.

II. Elements of the Offenses:

The elements the government must prove beyond a reasonable doubt to establish
the offense alleged in Count One are:

irst: That the offense of False Statements During Purchase of Firearm, in
violation of 18 U.S.C. § 922(a)(6), was committed by some person;
Second: That the defendant associated with the criminal venture;
Third: That the defendant purposefully participated in the criminal venture;
and
Fourth: That the defendant sought by action to make that venture successful.

In addition, the elements of the underlying offense of False Statements
During Purchase of Firearm, are:

First: That an individual made a false written statement;

Second: That the individual knew the statement was false;

Third: That the statement was made in connection with the
acquisition of a firearm from a licensed firearm dealer;

Fourth: That the statement was intended or was likely to deceive a
licensed firearm dealer; and

Fifth: That the alleged false statement was material to the

lawfulness of the sale or disposition of the firearm.

The essential elements the government must prove beyond a reasonable doubt to
establish the offense alleged in Count Two are:

irst: That two or more persons, directly or indirectly, reached an
agreement to distribute or possess with intent to distribute a
controlled substance;
Second: That the defendant knew of the unlawful purpose of the agreement;

Third: That the defendant joined in the agreement willfully, that is, with the
intent to further its unlawful purpose;
Fourth: That the overall scope of the conspiracy involved at least 5 grams of

Methamphetamine, a Schedule II controlled substance; and

Factual Resume - Page 2 of 3
Case 4:22-cr-00288-P! Document 43 Filed 10/05/22 Page 3of3 PagelD 74

Fifth: That the defendant knew or reasonably should have known that the

scope of the conspiracy involved at least 5 grams of
Methamphetamine, a Schedule II controlled substance.

Vv. Stipulated Facts:
In and about June 2022, in the Fort Worth Division of the Northern District

of Texas, J.F., purchased firearms from Range USA, a federal firearms dealers, for
defendant Jose Carlos Rivas-Chairez and at the behest of Ana Francisco-Sotelo,
and in connection with these purchases, J.F. stated on ATF-4473 forms, that she was
the actual transferee/buyer of the firearms, when Rivas and Francisco knew that
Rivas was the actual buyer of the firearms and intended to further transfer them to
others. On June 3, 2022, J.F. bought an FN, Model SCAR 178, 7.62x51 caliber rifle,
bearing serial number HOC27133, from Range USA and on June 6, 2022, J.F.
bought an FN, Model SCAR 17S, 7.62x51 caliber rifle, bearing serial number
H1C12232 from Range USA. On both occasions, Francisco requested that J.F.
purchase the firearms for Rivas in return for cash compensation. On both
occasions, Rivas provided J.F. with the cash to make the purchases, and J.F.
provided the firearms to Rivas after the purchases. Rivas compensated J.F.
approximately $400 for the first transaction and $500 for the second transaction.
On both occasions, J.F. falsely stated on ATF-4473 forms, that she was the actual
transferee/buyer of the firearms.

After the transactions, on July 29, 2022, a search was conducted of the shared
residence of Rivas and Francisco, ATF Special Agents discovered in the residence
a white substance that was tested and found to contain approximately 40 grams of
Methamphetamine, a Schedule II controlled substance. In this same room was a
device to remove a tire from a rim, and a rim attached to a tire. Rivas stated the tire
once contained methamphetamine, which he purchased from others and sold to
others. ATF SAs discovered trash bags stored on the side of the residence where
numerous empty bags with a white residue were located. Rivas stated these empty
bags once contained methamphetamine for distribution and were previously stored
in a separate tire. Also during the search, ATF SAs seized numerous firearms and
ammunition as listed in the notice of forfeiture in this matter. Rivas admits that these
seized firearms and ammunition facilitated the two charged offenses.

AGREED AND STIPULATED on this 2-Z_ dayof 2% x 2022.
, Ae ¢

Nase Paras

JOSE CARLOS RIVAS-CHAIREZ FRANCISCO HERNANDEZ

Defendant Counsel for Defendant

Factual Resume - Page 3 of 3
